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 5
     Attorney for Defendant
 6   ROBERT LARRY MOORE
 7
 8               IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
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11
12
     UNITED STATES OF AMERICA,
13                                                    CR NO. 2:13-CR-000258 TLN
                                Plaintiff,
14
                                                      MOTION FOR USMS TO PAY FOR
15                  v.                                DEFENDANT’S TRANSPORTATION
                                                      FROM KINGSPORT, TENNESSEE TO
16
     ROBERT LARRY MOORE,                              TO SACRAMENTO, CALIFORNIA
17                                                    AND RETURN TRANSPORTATION
                   Defendant.                         FROM SACRAMENTO,
18
                                                      CALIFORNIA TO KINGSPORT,
19                                                    TENNESSEE, AND [PROPOSED]
                                                      ORDER
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21
22
            Mr. Moore is a resident of Bristol, Virginia and currently on pre-trial release. He
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     is scheduled for sentencing on Thursday, February 25, 2016. He is indigent and without
24
     sufficient financial resources to travel to court and return to Bristol, Virginia on his own.
25
     I have learned from other lawyers in this district that in situations like this, the U.S.
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     Marshals Service are able to pay for transportation for defendants if they have a Court
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     order directing them to do so. Therefore, Mr. Moore requests the court to issue an order
28
     directing the U.S. Marshals Service to pay for the defendant’s transportation from



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 1   Kingsport, Tennessee (the closest airport to Bristol, Virginia) and the return
 2   transportation from Sacramento, California to Kingsport, Tennessee because he is
 3   indigent and unable to pay for the costs of transportation on his own.
 4                                                           Respectfully submitted,
 5
 6   Dated: January 14, 2016                                 /s/ Tasha Paris Chalfant
                                                             TASHA PARIS CHALFANT
 7
                                                             Attorney for Defendant
 8                                                           ROBERT LARRY MOORE
 9
10
11          Pursuant to Title 18, United States Code, Section 4285, IT IS SO ORDERED.
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     Dated: January 14, 2016.
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